Case 5:20-cv-03122-JAR-GEB Document 34 Filed 10/21/22 Page1of4

Lyatris C PRounceg.
OOIALAS
20 Box @i EDSKANO anany GIO

UTED SIRES DRSTICT Gunr
FOR THE DESTALCT OF KAWSAS

(usta C. BfouueLce. CME Yo. Ax-Sifa- SAc- en
OTATASTINE
Vo
Evman DOWwling
DESEMANOY Tndwidal CaPAGHY

NOT, REQUESTTEIWa “THAT CBuRe Court |
CONSTAUES OL ATSTISE'S Clam OF UNSAFE |
Condvons THAT Violated PIGISTEF Exh

Arovocwne.cry_ Ce Ansed.. _

L Gams C BRONLEE arn the Ploy rk vot. Poot
Ended Cone Tn SubPark OF ON chokion Oo

 

\ Ust-in Plainhiehs Cause OF ACTION Count 1 SuPPorting
AS V3 Pla aher Aased Yoe Clam Hort EVMAN
Mutitng Violated Slay ahers Lighth Qirendment
Aah to be Bee Om UNsere Conditions (SEE Pach Mens

Ad¢®)
Case 5:20-cv-03122-JAR-GEB Document 34 Filed 10/21/22 Page 2 of 4

Pursuant TO 4.5.0 $3-ol ay LF usc® ITM
1 Gustin C RAOQGIALEE, * op 30a3 here Gothin Geclore —
UPOM ony Sole. Cain and Gader the Penal) OF |
Cocducy (14.6.4 Ry 403 19 O.5.c% GOV THAt TE howe,
Feod the MOTon BEQUESTIING, THAT THE COumr
Conamues PlOINTISE Claim OF UNSAFE Conditions
THAT Violated MY Eralthy Amendment BE Aaised, To
ern Verif&s hat We Matters All eaed Verein
ore +eue, oe

Executed A EXDOMADO enlsns
A ENCE
JO- WN AD

— Quarin_C© BRowatle
Case 5:20-cv-03122-JAR-GEB Document 34 Filed 10/21/22 Page 3of4

C. CAUSE OF ACTION
1) Lallege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my allegations: ([f necessary you

may attach up to two additional pages (8h” x 11”) to explain any allegation or to list

additional supporting facts.)

A) Count THE, ACo0 0 EVE OFFice kd Rowling, and Corby
‘Galolked Acinke® Eick and foulhveects fonendonentes tothe. 0.5

Crakvks hon Ohya Shey edn dacs nd Aploned tere
MeAica\ COPeaTearnun’ And AISiStance

(2) Supporting Facts: (Include all facts you consider important, including names of

persons involved, places and dates. Describe exactly how each defendant is involved.
State the facts clearly in your own words without citing legal authority or argument.):

Von mon 33.2018 ENCE SIREE OFiCeR LYMAN Dowling, ackea.
ust deibeccke ndEesence. Ube He. Kotenkonally denies
Cod delayed PYCRED Medical Core treormnen), ond
assstauce 2 CRFICeR Dou IA, 98 Opecortins, Ah.
transgor vou Gsnile. \octhe Commisgon oF the.

B) (1) Count IEThy, Ochnns OF Bnet Acer AX MeChiaugh Vialakes
Claintace fidte Pidaibidina Covel and Wousua’ Pusichrant pides
he Tadp Rvakovnd-to Yow L., Ganeiuion Bae CHCEPIVE SONS

5

ANS Algo AMEhanadlsy Gees And Gaoves EReper Pedi Cay CORE
(2) Supporting Facts:

OO. ODN BS. DONS Alek Mecollanw)r acess rit Ad berate
FAKES CE. (Yor Ve leek CxcenseSerce Ook akcobonall
dered Aglayed Proves Medi ca core 4 BCE BIE

 

 

XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983
mmm = Case 5:20-Cv-03122-JAR*GEB™ Document 34 Filed 10/21/22 Page4of4 = = ~

Co

 

 

 

Cine ce texting, and Driving, Ontne 20 Bled
West Central Over E) Dorado Js Gihen PloinieF Gnd
_ oh officers become. “nvolw tn 8 Give. Vehicle Croan.

TGs a Haak oF ENCE SINE OFicer E. Dowting dehbeote
Bn dRecence Ao Cxe0MS Plone to on unsraaneBe
—horen 8 A Aut OF Ahis Collision LX Siukesed ASRnal
Co TTNSUIN Gnd Also Swerve Gamage.Coused OV he
— Sertes Ognerates ON the Collision throwiney Plains
| GESUIKD Gnd 7hen COCAWORAS. (SEE. Ahachmnenis AeFiDAvi OF

FO ond Cori2oty Acer of Medveol Eouienent/ APhance Fompond -

Also Healt Services Nequesl ema fo

 

 

 

 

 

 

 

 

 

 

WY Brer She Colson Uihie SirifPing, one. cut For -branagorh.

informed ENCE SIBFF OFFicer EB. Dousing, Aran We Osh
Me Uthat G08. Wusona, Ustn me. ecauae He faced Ne

Moving Obaormoli TE Stated thot TE hod Bevo

been ev accor accident Years Oro and TSH

 AuiFeres. Pain Grom Ancae. TAUTieS.(BEE ARadhenen's
— BRFIDANV OF Forks and atneadint Sefore

 

 

 

Heer the Collision TL ingested. OW icer E.Dowine,
—Yhak nn incl Gard uso Andured Gnd Woot T alas
— Yerinoured Vnguries Shot TE Premoualy had 0nd.

 

 
